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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION


 UNITED STATES OF AMERICA

 v.                                                  CASE NO. 8:13-cr-48-T-30TBM

 AIGOUL IPLAEVA GOLD


                          FORFEITURE MONEY JUDGMENT
                      AND PRELIMINARY ORDER OF FORFEITURE

        The United States moves, under 21 U.S.C. § 853, 18 U.S.C. § 982(a)(1), and Rule

 32.2(b)(2), Federal Rules of Criminal Procedure, for entry of a forfeiture money judgment

 (Doc. 264) against defendant Aigoul Iplaeva Gold in the amount of $713,570.50,

 representing the proceeds of unlawful activity involved in the money laundering

 conspiracy as charged in count nineteen of the Indictment, and a preliminary order of

 forfeiture for the following asset:

               Funds in the amount of $61,232.31, which were
               seized from Wells Fargo Bank checking account
               number 2000060506034.

        The defendant pleaded guilty to the money laundering conspiracy charged in count

 nineteen of the indictment, in violation of 18 U.S.C. §§ 1956(h), 1957, 1956(a)(1)(A)(i),

 1956(a)(1)(B)(i), and 1956(a)(1)(B)(ii). Being fully advised in the relevant facts, the Court

 finds that the defendant conspired to launder the proceeds of the drug trafficking

 conspiracy in the amount of $713,570.50 through the Regions Bank 1910 Medical

 account number 0118353045 controlled by the defendant and her co-conspirator

 husband, Warren Gold, as charged in Count Nineteen. The Court further finds that the
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 $61,232.31 is property involved in the money laundering conspiracy as charged in count

 nineteen.

          Accordingly, the motion (Doc. 264) of the United States is GRANTED.        It is

 ORDERED that a forfeiture money judgment is hereby GRANTED against the defendant,

 who shall be jointly and severally liable with co-defendant Warren Gold in the amount of

 $713,570.50, pursuant to 18 U.S.C. § 982(a)(1), and Rule 32.2(b)(2), Federal Rules of

 Criminal Procedure.

          The $61,232.31 is FORFEITED to the United States of America for disposition

 according to law pursuant to 18 U.S.C. § 982(a)(1), and Rule 32.2(b)(2), Federal Rules

 of Criminal Procedure

          The Court retains jurisdiction to effect the forfeiture and disposition of the

 $61,232.31 and any other property belonging to the defendant that the United States may

 seek as substitute assets under 21 U.S.C. § 853(p), as incorporated by 18 U.S.C.

 § 982(b)(1), for the defendant’s $713,570.50 money judgment.

          DONE AND ORDERED in Tampa, Florida, on April 13, 2015.




 Copies furnished to:
 All Parties/Counsel of Record
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